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                UNITED STATES DISTRICT COURT FOR THE
          WESTERN DISTRICT OF ARKANSAS—HOT SPRINGS DIVISION

PAUL F. MILLER,

                     Plaintiff,

            v.                           No. 6:18-cv-06008-SOH
AT&T dba Southwestern Bell Telephone
                                         Hon. Susan O. Hickey
Company aka AT&T Arkansas; AT&T dba
DirecTV LLC.; JAMS; RANDALL S,

                     Defendants.


OBJECTION OF DEFENDANTS SOUTHWESTERN BELL TELEPHONE COMPANY
  D/B/A AT&T ARKANSAS, DIRECTV, LLC, AND RANDALL STEPHENSON TO
    PLAINTIFF’S “DESIGNATION OF PARTIAL RECORD” AND “ORDER OF
                TRANSCRIPT AS AN EXHIBIT ON APPEAL”
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       Pursuant to Federal Rule of Appellate Procedure 10, Defendants hereby object to Plaintiff

Paul F. Miller’s “Designation of a Partial Record” (Dkt. No. 42) and “Order for Transcript as an

Exhibit on Appeal” (Dkt. No. 46), which he filed in connection with his notice of appeal (Dkt.

No. 40).

       To begin with, Mr. Miller cannot purport to limit the record on appeal by filing a

“Designation of a Partial Record.” Rule 10(a) states that “the original papers and exhibits filed

in the district court,” the “transcript of proceedings, if any,” and “a certified copy of the docket

entries prepared by the district clerk” shall “constitute the record on appeal[.]” Fed. R. App. P.

10(a)(1)-(3). Accordingly, all “original papers and exhibits” remain part of the “record on

appeal”—not just the handful of documents that Mr. Miller designates. See Dkt. 42, at 1.

       Nor can Mr. Miller expand the record on appeal by purporting to designate documents

not submitted to the district court or order transcripts of proceedings in other forums. To the

contrary, only the “papers and exhibits filed in the district court” and the “transcript of

proceedings” in the district court are part of the “record on appeal.” Fed. R. App. P. 10(a)(1)-(2)

(emphasis added). Yet Mr. Miller’s “Designation of a Partial Record” consists of a list of

documents without identifying them by docket number or confirming that they were filed in the

district court. See Dkt. No. 42, at 1. And if any of the documents attached to his “Designation of

a Partial Record” had been submitted to the district court, none bears a file-stamp by the district

clerk or CM/ECF system. See Dkt. Nos. 42-1 through 42-9.

       Similarly, Mr. Miller’s “Order for Transcript as an Exhibit on Appeal” improperly states

that “a transcript of the August 18, 2017 hearing in arbitration”—not the district court—“was

ordered” from Gary Pritsch of Bushman Court Reporting. Dkt. No. 46, at 1 (emphasis added).

Mr. Miller then attached what appears to be a letter that he sent on July 26, 2018 to Mr. Pritsch,
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asking him to “transcribe[]” a “recorded hearing from [Mr. Miller’s] arbitration” that Mr. Miller

wants “for an appeal in St. Louis (8th Cir).” Id. at 2. Mr. Miller cannot purport to expand the

record on appeal by adducing new evidence—a transcript of a purported recording of an

arbitration hearing—that was never submitted to the district court.       See, e.g., Bath Junkie

Branson, L.L.C. v. Bath Junkie, Inc., 528 F.3d 556, 559-60 (8th Cir. 2008) (holding that

“[b]ecause” particular documents “were presented for the first time at the appellate stage, they

are not part of the record for our review”).

       WHEREFORE, Defendants object to Mr. Miller’s Designation of Partial Record (Dkt.

No. 42) and Order of Transcript as an Exhibit on Appeal (Dkt. No. 46), and request such other

relief to which they are entitled.

DATED: July 31, 2018                           Respectfully Submitted,

                                                /s/ John M. Scott
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                                               AT&T, and Randall L. Stephenson




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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on this 31st day of July, 2018, a copy of the foregoing
Objection To Plaintiff’s “Designation Of Partial Record” And “Order Of Transcript As An
Exhibit On Appeal” was electronically filed with the Court using the CM/ECF system and was
served by electronic and first class mail on:

       Paul Farris Miller
       Law Office of Paul Miller
       210 Carl Drive #F-4
       Hot Springs, AR 71913
       twcutep@gmail.com


                                                     s/ John M. Scott
                                                     John M. Scott (Ark. Bar No. 97202)




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